Case 1:24-cv-24084-CMA Document 1-1 Entered on FLSD Docket 10/22/2024 Page 1 of 8




                   COMPOSITE EXHIBIT A
                             To the Complaint (EA v. Amazon)
Case 1:24-cv-24084-CMA Document 1-1 Entered on FLSD Docket 10/22/2024 Page 2 of 8
Case 1:24-cv-24084-CMA Document 1-1 Entered on FLSD Docket 10/22/2024 Page 3 of 8
10/9/24, 7:02 PM                          Case 1:24-cv-24084-CMA Document 1-1 Entered on FLSD Docket 10/22/2024 Page 4 of 8
                                                                                      Amazon


                                                            J&D eTrading LLC | United States                Search                                                EN   Help


               Manage Your Apps            Explore Services          Shipments         Performance Notifications   Payments   Business Reports   Account Health        Edit



          Performance notifications
         August 19, 2024
         Your Amazon.com seller account has been deactivated




        FEEDBACK
https://sellercentral.amazon.com/performance/notifications/5ac928f3-4e6d-447d-b387-67fa2f4650da                                                                               1/2
10/9/24, 7:02 PM                          Case 1:24-cv-24084-CMA Document 1-1 Entered on FLSD Docket 10/22/2024 Page 5 of 8
                                                                                      Amazon




                                                  Hello,

                                                  Your Amazon selling account has been deactivated. Your listings have been
                                                  removed in accordance with section 3 of the Amazon Services Business Solutions
                                                  Agreement. We are withholding any funds available in your account. If you have
                                                  FBA inventory of the items causing "inauthentic" complaints, they are currently
                                                  ineligible for removal.


                                                  Why is this happening?
                                                  We have taken this measure because we have concerns about the authenticity of
                                                  the items listed at the end of this email. In order to ensure that customers can shop
                                                  with confidence on Amazon, we request additional information from sellers to
                                                  confirm the authenticity of certain products. The sale of counterfeit products on
                                                  Amazon is strictly prohibited. Amazon has several product detail and listing policies
                                                  to ensure customers have a consistent buying experience and receive items in the
                                                  condition they expect. Additional information regarding these policies can be found
                                                  at the following Seller Central pages
                                                  -- "Amazon Anti-Counterfeiting Policy":
                                                  https://sellercentral.amazon.com/gp/help/201165970
                                                  -- "Policies and Agreements":
                                                  https://sellercentral.amazon.com/gp/help/521
                                                  -- "Amazon Services Business Solutions Agreement":
                                                  https://sellercentral.amazon.com/gp/help/1791

                                                  How do I reactivate my account?
                                                  To reactivate your account, go to your "Account Health" and click on "Reactivate My
                                                  Account" to submit necessary information.
                                                  https://sellercentral.amazon.com/performance/dashboard?ref=ah_em_pq

                                                  What happens if I do not submit the required information?
                                                  If we do not receive the requested information your account will remain deactivated.
                                                  Any remaining FBA inventory of the items that caused "inauthentic" complaints will
                                                  be destroyed at your expense, in accordance with the Business Solutions
                                                  Agreement.

                                                  We're here to help
                                                  If you have questions about this policy or your account, contact us:
                                                  https://sellercentral.amazon.com/cu/contact-us

                                                  You can get help submitting your appeal in Seller Central Help:
                                                  https://sellercentral.amazon.com/gp/help/200370560

                                                  To view your account performance, select "Account Health" on the home screen of
                                                  the Amazon Seller app on your iOS or Android device, or go to the "Account Health"
                                                  page:
                                                  https://sellercentral.amazon.com/performance/dashboard?ref=ah_em_pq

                                                  On iOS:
                                                  https://itunes.apple.com/us/app/amazon-Seller/id794141485

                                                  On Android:
                                                  https://play.google.com/store/apps/details?
                                                  id=com.amazon.sellermobile.android&hl=en_us

                                                  The Account Health page shows how well your account is performing against the
                                                  performance metrics and policies required to sell on Amazon.

                                                  -------------------------------------
                                                  ASIN: B07MZDTG76
                                                  Title: FURminator Undercoat Deshedding Tool for Dogs, Deshedding Brush for
                                                  Dogs, Removes Loose Hair and Combats Dog Shedding,Blue
                                                  -------------------------------------
                                                  Sincerely, Seller Performance Team https://www.amazon.com




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        FEEDBACK
https://sellercentral.amazon.com/performance/notifications/5ac928f3-4e6d-447d-b387-67fa2f4650da                                                                                2/2
10/9/24, 7:06 PM                          Case 1:24-cv-24084-CMA Document 1-1 Entered on FLSD Docket 10/22/2024 Page 6 of 8
                                                                                      Amazon


                                                           Blue Ocean Commerce LLC | U…                       Search                                                         EN   Help


               Manage Your Apps            Explore Services         Manage All Inventory          FBA Inventory   Shipments   Business Reports   Account Health   Payments        Edit



          Performance notifications
         June 11, 2024
         Your Amazon.com Seller Account




                                                  Hello ,

                                                  Thank you for completing the verification on video interview. After reviewing the
                                                  information from your video interview, we have decided that your seller account will
                                                  remain deactivated as in accordance with Section 3 of Amazon Business Solutions
                                                  Agreement. Please continue to ship open orders and respond to customer inquiries
                                                  to avoid further impact to your account. Funds will not be transferred to you but will
                                                  stay in your account while we work with you to address this issue in accordance
                                                  with our Funds Withholding Policy

                                                  Why did this happen?
                                                  We have taken this measure as your account we believe that your account or other
                                                  related accounts operated by you may be used for deceptive or fraudulent, or illegal
                                                  activity.

                                                  How do I reactive my account?
                                                  To demonstrate the authenticity of your account and your inventory, submit the
                                                  following documentation for the ASINs and brand listed below:

                                                  -- A valid government-issued photo identity document. The document must include
                                                  full name, date of birth, ID number, expiry date, signature of the bearer if applicable,
                                                  and country of issuance or country of citizenship.
                                                  -- Bank or credit card statement. The document must include the full name of the
                                                  individual or of the business, residential or business address, issuing bank
                                                  information and the records related to the purchase of the ASIN under review.
                                                  -- In case of having a registered business, the registration document must be
                                                  uploaded. The document must contain name of the business owner or legal
                                                  representative, business-operating name, business license number or registration
                                                  number, official seal or stamp of the issuing authority, business address, date of
                                                  incorporation, status of the business and signature of the legal representative
                                                  (electronic signature is acceptable).
                                                  -- Supply chain documents such as invoices and receipts that include the item's
                                                  description, quantities, supplier’s name, supplier phone number, supplier address,
                                                  and website. You may remove pricing information, but the rest of the document must
                                                  be visible. Proof of delivery, bill of lading, import and export documents, customs
                                                  clearance documents and authorization letters from brands and licensed brand
                                                  distributors are other examples of documents that may be requested.
                                                  Note: The mentioned documents must be authentic, unaltered and sent only in PDF,
                                                  JPG, PNG or GIF format.


                                                  ASIN(s): B0CJ3FXLT4
                                                  Brand(s): World Group Packing Solutions,
                                                  Quantity: 356

                                                  Has your account been deactivated in error?
                                                  if you believe your account has been deactivated in error, you can reach out to
                                                  Inbound-appeals@amazon.com.

                                                  We are here to help:
                                                  You can review the policies on Seller Central:
                                                  https://sellercentral.amazon.com/gp/help/G1791
                                                  You can also view your account performance at
                                                  https://sellercentral.amazon.com/performance/dashboard or by selecting Account
                                                  Health on the home screen of the Amazon Seller app on your iOS or Android
                                                  device.

                                                  The Account Health page shows how well your account is performing against the
                                                  performance metrics and policies required to sell on Amazon.
                                                  — Download iOS App at (https://itunes.apple.com/na/app/amazon-
                                                  seller/id794141485)
                                                  — Download Android App at (https://play.google.com/store/apps/details?
                                                  id=com.amazon.sellermobile.android&hl).



        FEEDBACK
https://sellercentral.amazon.com/performance/notifications/2b9d0bb2-1c42-43b9-b7fc-430bc229c499                                                                                          1/2
10/9/24, 7:06 PM                          Case 1:24-cv-24084-CMA Document 1-1 Entered on FLSD Docket 10/22/2024 Page 7 of 8
                                                                                      Amazon




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        FEEDBACK
https://sellercentral.amazon.com/performance/notifications/2b9d0bb2-1c42-43b9-b7fc-430bc229c499                                                                            2/2
Case 1:24-cv-24084-CMA Document 1-1 Entered on FLSD Docket 10/22/2024 Page 8 of 8
